Case 2:05-cv-00183-WGH-LJM    Document 41    Filed 10/31/07   Page 1 of 20 PageID #:
                                     177


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION


RICHARD W. FELKER, THOMAS W. FELKER,             )
GINA L. BOGDAN and BROCK THUIS,                  )
individually and on behalf of others similarly   )
situated,                                        )
                                                 )
                              Plaintiffs,        )
                                                 )
                  v.                             )     2:05-cv-183-WGH-LJM
                                                 )
SOUTHWESTERN EMERGENCY MEDICAL                   )
SERVICE, INC.,                                   )
                                                 )
                              Defendant.         )



                       FINDINGS OF FACT, CONCLUSIONS
                            OF LAW AND DECISION

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, pursuant to consent of the parties and the Order of

Reference entered by Chief Judge Larry J. McKinney on February 23, 2006. A

court trial was held in Terre Haute, Indiana, on August 15, 2007. Plaintiffs were

represented by counsel, Robert P. Kondras, Jr., and Jason M. Saunders.

Defendant was represented by counsel, Scott Craig and Tracy Lawson.

      The parties submitted their proposed Findings of Fact and Conclusions of

Law on October 1, 2007. (Docket Nos. 35 and 37).

      The Magistrate Judge, being duly advised, hereby enters his Findings of

Fact, Conclusions of Law and Decision:
Case 2:05-cv-00183-WGH-LJM     Document 41     Filed 10/31/07   Page 2 of 20 PageID #:
                                      178


                           Findings of Fact Related to
                       Jurisdiction, Venue and the Parties

      1. This matter was removed to this Court by Defendant, Southwestern

Emergency Medical Service, Inc. (“SEMS”), from the Greene Superior Court, as

one of Plaintiffs’ theories raised a question of federal law. This Court has

jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1343, 29 U.S.C. § 201 et seq.,

and supplemental jurisdiction over Plaintiffs’ claims raised under Indiana law.

      2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because

the alleged unlawful conduct herein was being committed in the Southern

District of Indiana.

      3. Plaintiff Richard W. Felker at all times relevant herein, was a resident

of Greene County, Indiana, and was employed by SEMS from 2002 to 2005. At

the end of his employment, he was an ALS-EMT. (See ¶ 10 below.)

      4. Plaintiff Thomas W. Felker at all times relevant herein, was a resident

of Greene County, Indiana, and was employed by SEMS from 2002 to 2005. At

the end of his employment, he was a BLS-EMT.

      5. Plaintiff Gina L. Bogdan is a resident of Sullivan County, Indiana, and

was employed by SEMS for six months during 2003. At the end of her

employment, she was a BLS-EMT.

      6. Plaintiff Brock Thuis is a resident of Greene County, Indiana, and was

employed by SEMS from 2002 to 2005. At the end of his employment, he was an

ALS-EMT.




                                        -2-
Case 2:05-cv-00183-WGH-LJM        Document 41    Filed 10/31/07   Page 3 of 20 PageID #:
                                         179


         7. Defendant, SEMS, is an Indiana for-profit domestic corporation, with

its principal offices located in Greene County, Indiana, at 902 E. Main Street,

Jasonville, Indiana 47438. The corporation is owned by Jeffrey Lecoq.


                       Findings of Fact Relating to Count I,
                   the Fair Labor Standards Act (“FLSA”) Claims

         8. The primary business of SEMS is to transport convalescent patients on

a non-emergency basis from their homes, nursing homes, or other locations, to

doctor and hospital visits when those patients’ medical conditions do not allow

for other modes of transportation.

         9. Those who work as Emergency Medical Technicians (“EMTs”) for SEMS

are licensed by the State of Indiana as providers of emergency medical services.

     10. There are several different levels of EMTs certified and recognized

within the industry by the State of Indiana. An EMT’s level or certification

depends on the individual’s training and education. The first or lowest

recognized level of EMT is a “First Responder.” With additional education,

certification and training an individual may be certified (from lowest to highest)

as an:

         (a)   EMT -- Basic (or Basic Life Support – “BLS”);

         (b)   EMT -- Basic Advanced (or Advanced Life Support – “ALS”);

         (c)   EMT -- Intermediate; and

         (d)   Paramedic (the highest certified level).




                                           -3-
Case 2:05-cv-00183-WGH-LJM     Document 41    Filed 10/31/07   Page 4 of 20 PageID #:
                                      180


     11. The higher an EMT’s certification or level, the more services and

emergency care may be offered by the EMT. For example, an Intermediate EMT

may administer medications intravenously and intubate a patient, care that

lower level EMTs are not authorized to provide.

     12. In addition to SEMS, Greene County is also served by Greene County

Ambulance Service. Greene County Ambulance Service operates five full-time

stations throughout the county.

     13. SEMS is independent from, and not connected to, Greene County’s

emergency 911 system. SEMS uses its own dispatcher and does not receive

dispatches through Greene County’s emergency 911 system.

     14. Because SEMS is not part of Greene County’s emergency 911 system,

emergency calls in the county are responded to by Greene County Ambulance

Service. SEMS did and does provide back-up services for Greene County

Ambulance Service. On occasions, SEMS would respond to auto accidents

involving multiple injured parties (for instance, an accident on U.S. 41 involving

a school bus). Those who worked for SEMS had to be prepared each day to

respond to calls for emergency services.

     15. During Thomas Felker’s employment at SEMS, he recalled having

responded to at least two accidents which occurred on highways (one accident

on S.R. 59 and another on U.S. 41). Gina Bogdan recalled having responded to

three automobile accidents on highways (one accident on S.R. 59, one on U.S.

41, and one on S.R. 54.) Brock Thuis only recalled having responded to one




                                        -4-
Case 2:05-cv-00183-WGH-LJM    Document 41    Filed 10/31/07   Page 5 of 20 PageID #:
                                     181


accident on a highway (an accident that occurred on Interstate 70). At least two

of these responses were occasions when Plaintiffs were traveling on other SEMS

business and either witnessed the accident or happened on an accident that had

just occurred.

     16. During Plaintiffs’ employment with SEMS, SEMS was staffed by both

ALS and BLS level EMTs. Generally, ALS level employees were compensated at a

higher hourly rate than were BLS level employees, depending on an employee’s

seniority with the company. SEMS generally paid ALS employees at a higher

hourly rate than BLS-EMTs because SEMS was able to bill more to patients and

insurance carriers for services rendered by the more highly certified EMTs.

     17. In 2004, Plaintiffs Brock Thuis, Richard Felker and Thomas Felker

were all being compensated at the rate of $187.20 per 24-hour shift, or $7.80

per hour.

     18. Each of the Plaintiffs in this case worked 24-hour shifts with some

degree of regularity, and on at least some occasions worked more than one 24-

hour shift, requiring them to work greater than 40 hours in a work week.

     19. SEMS never paid any of the Plaintiffs other than at their straight time

rates for hours worked over 40 during any given pay period.

     20. Jeffrey Lecoq, the principal owner of SEMS, also owned two other

businesses – “J & D Used Car Sales” which sold automobiles and “Southwestern

Fire & Safety” which sold fire trucks, firefighting equipment and ambulances.

Each business had its own employees, maintained its own financial accounts




                                       -5-
Case 2:05-cv-00183-WGH-LJM      Document 41     Filed 10/31/07    Page 6 of 20 PageID #:
                                       182


and records separately, filed its own tax returns, and otherwise remained

separate and distinct businesses owned by the same individual. The evidence

that some of the Plaintiffs may have assisted with one of the other businesses on

a few occasions by helping to unload a truck or picking up supplies for another

company or that SEMS and the other companies kept their supplies at the same

place is insufficient to satisfy Plaintiffs’ burden to prove that J & D Used Car

Sales, Southwestern Fire & Safety and SEMS are “related activities.”

     21. The Department of Labor’s regulations define the term “annual gross

volume of sales made or business done” as follows:

      gross receipts from all types of sales made and business done during
      a 12-month period. The gross volume of sales made or business
      done means the gross dollar volume (not limited to income) derived
      from all sales and business transactions including, for example,
      gross receipts from service, credit, or other similar charges. Credits
      for goods returned or exchanged and rebates and discounts, and the
      like, are not ordinarily included in the annual gross volume of sales
      or business.

29 C.F.R. § 779.259(a).

     22. The tax returns filed by SEMS for the relevant years in question are as

follows:

                                               Less Returns and
      Year     Gross Receipts or Sales            Allowances             Balance

      2002           $621,951                     $205,959              $415,992
      2003           $650,310                     $239,382              $410,928
      2004           $823,169                     $240,604              $582,565
      2005           $683,454                     $147,182              $536,272




                                         -6-
Case 2:05-cv-00183-WGH-LJM         Document 41      Filed 10/31/07     Page 7 of 20 PageID #:
                                          183


      23. Applying the definition found at 29 C.F.R. 779.259(a) (Finding of Fact

21) to the evidence in this case, SEMS did not do an “annual gross volume of

sales made or business done” in excess of $500,000 in 2002 or 2003. SEMS did

do an “annual gross volume of sales made or business done” in excess of

$500,000 in 2004 and 2005.1


                     Conclusions of Law as to the FLSA Claims

       1. There are two ways in which SEMS could be liable for payment of

overtime compensation to the Plaintiffs, either: (1) “individually” if the employee

himself/herself is “engaged in commerce or in the production of goods for

commerce”; or (2) through the employer if employed in an enterprise “engaged in

commerce or in the production of goods” if that enterprise’s “annual gross

volume of sales made or business done is not less than $500,000.” 29 U.S.C. §

206(a); 29 U.S.C. § 203(s)(1).

       2. The Supreme Court has made clear that courts should interpret

coverage under the FLSA liberally, “to apply to the furthest reaches consistent

with congressional direction,” while they should construe exemptions from



          1
            SEMS’ accountant, Ms. Keller-Duzan, testified that there were substantial
 adjustments made retroactively during the years 2004 and 2005, but did not quantify,
 in her testimony, the amount of the adjustments. The Defendant tendered Exhibit A as
 a summary of her testimony. However, the Magistrate sustained an objection to the entry
 into evidence of this document based upon FED.R.EVID. 1006 because the originals of the
 voluminous writings which made up the underlying data for the summary were not
 produced in open court nor made available prior to trial for inspection by Plaintiffs so that
 they could determine the accuracy of the purported summary. Without the summary, the
 Magistrate Judge is unable to do more than speculate as to the amount of returns which
 would be used to reduce the gross volume of sales. SEMS had not filed amended returns
 prior to trial, which might have been evidence material to this issue.

                                              -7-
Case 2:05-cv-00183-WGH-LJM     Document 41     Filed 10/31/07   Page 8 of 20 PageID #:
                                      184


coverage very narrowly. Tony and Susan Alamo Foundation v. Secretary of Labor,

471 U.S. 290, 296 (1985); Powell v. U.S. Cartridge Co., 339 U.S. 497, 516-17

(1950).

      3. Each of the four Plaintiffs, Richard Felker, Thomas Felker, Gina

Bogdan and Brock Thuis, worked for SEMS as EMTs and ambulance drivers. As

ambulance drivers, each of the Plaintiffs was engaged in interstate commerce

because the Plaintiffs, as a daily part of their job duties for SEMS, had to be

prepared to respond to emergency calls about accidents on highways and

roadways. Federal law is clear that ambulance services which pick up victims of

motor vehicle accidents on public highways and streets are engaged in interstate

commerce. Bayles v. American Medical Response of Colorado, Inc., 937 F.Supp.

1477, 1482-85 (D.Colo. 1996); Smith v. F-M Ambulance Service, Inc., 914 F.Supp.

359, 361-62 (D.N.D. 1995); Spires v. Ben Hill County, 745 F.Supp. 690, 694-96

(M.D.Ga. 1990); Conway v. Takoma Park Volunteer Fire Dept., Inc., 666 F.Supp.

786, 790-91 (D.Md. 1987); Huber v. Aid Ambulance, Inc., 1977 WL 1783 (N.D.Ill.

1977); Wirtz v. A-1 Ambulance Service, Inc., 299 F.Supp. 197, 201 (E.D.Ark.

1969); Duffy v. Oele, 274 F. Supp. 307 (W.D.Mich. 1967); see also Zorich v. Long

Beach Fire Dept. and Ambulance Service, Inc., 118 F.3d 682 (9th Cir. 1997); Usery

v. Holston’s Ambulance Service, Inc., 1976 WL 1749 (W.D. La. November 9, 1976);

Benson v. Universal Ambulance Service, Inc., 675 F.2d 783 (6th Cir. 1982). This

is true even of ambulance services (and individual ambulance drivers) making

intrastate trips to pick up victims of automobile accidents on public highways




                                        -8-
Case 2:05-cv-00183-WGH-LJM     Document 41     Filed 10/31/07   Page 9 of 20 PageID #:
                                      185


and streets. Huber v. Aid Ambulance, Inc., supra. In this case, the Magistrate

Judge concludes that an EMT or ambulance driver who must be prepared on a

daily basis to provide emergency services is engaging in interstate commerce

even if the actual occasion to provide those services happens only once or twice a

year.

        4. The Magistrate Judge hereby concludes and rules that each of the

Plaintiffs, Richard Felker, Thomas Felker, Gina Bogdan and Brock Thuis, were

eligible for overtime compensation for hours worked in any week over 40, as

each Plaintiff was engaged in interstate commerce and therefore each was

“individually” covered under FLSA. 29 U.S.C. § 206(a); 29 U.S.C. § 203(s)(1).

The FLSA requires than an employee who works more than 40 hours in a

workweek must be paid compensation at a rate of one and one-half times his

regular pay for hours in excess of 40. 29 U.S.C. §207(a)(1).

        5. Additionally, should an appellate court conclude that Conclusions of

Law 3 and 4 are incorrect and that the Plaintiffs have not established FLSA’s

protections under the “individual coverage” test, Plaintiffs have proven that

SEMS was an “enterprise,” thereby subjecting SEMS to liability to pay overtime

but only for some periods of time.

        6. The three primary elements to be considered when analyzing what

constitutes an “enterprise” are: (1) related activities, (2) performed through

unified operations or common control, (3) for a common business purpose.




                                        -9-
Case 2:05-cv-00183-WGH-LJM     Document 41      Filed 10/31/07   Page 10 of 20 PageID #:
                                       186


 Brennan v. Arnheim & Neely, Inc., 410 U.S. 512 (1973). As discussed in 29

 C.F.R. § 779.206(b):

       Generally, the answer to the question whether particular activities
       are “related” or not, will depend in each case upon whether the
       activities serve a business purpose common to all the activities of
       the enterprise, or whether they serve a separate and unrelated
       business purpose. For example, where a company operates retail or
       service establishments, and also engages in a separate and
       unrelated construction business, the construction activities will not
       be “related” and will constitute a separate enterprise if they are
       conducted independently and apart from the retail operations.

       7. Plaintiffs have failed to demonstrate that the three businesses owned

 by Mr. Lecoq constituted “related activities” and therefore should not be

 considered in the aggregate in determining whether SEMS had over $500,000 in

 “annual gross volume of sales made or business done.” The fact that all three

 businesses were owned by Mr. Lecoq and were all located (at least in part) in

 Jasonville merely shows common ownership and proximity, not related activities.

 Each company maintained separate and unrelated business purposes – SEMS

 was engaged in the provision of ambulance services; J&D Used Car Sales in the

 retail sale and repair of vehicles; and Southwestern Fire & Safety in the sale of

 fire trucks, firefighting equipment and ambulances.

      8. Because Mr. Lecoq’s other businesses are not “related,” the

 determination of SEMS’ “gross volume of sales made or business done” must be

 restricted to its activities only and not those of any other entity. SEMS did

 exceed $500,000 in “gross volume of . . . business done” during the years 2004

 and 2005 only.




                                         -10-
Case 2:05-cv-00183-WGH-LJM        Document 41       Filed 10/31/07   Page 11 of 20 PageID #:
                                          187


                        Findings of Fact Relating to Count IV,
                            the Breach of Contract Claims

       24. Sometime during the first half of 2004,2 Plaintiffs Brock Thuis, Richard

 Felker and Thomas Felker, and at least two other SEMS employees, Kelly

 Portteus and John Boucher, each signed a contract with SEMS titled

 “CONTRACT – INTERMEDIATE EMT.” (Plaintiffs’ Exhibit 1). At the time the

 contracts were signed, none of the aforementioned employees was certified as an

 Intermediate EMT.

       25. The document marked as Plaintiffs’ Exhibit 1 was drawn by Darren

 Sluder, a representative of SEMS, and was presented to each Plaintiff for his/her

 signature. There is no evidence before the Magistrate Judge that the parties

 attempted to negotiate the terms of this document.

       26. The three Plaintiffs who signed Intermediate EMT Contracts (as well as

 Ms. Portteus and Mr. Boucher) began training to become certified as

 Intermediate EMTs by taking a class conducted in Bloomfield, Indiana. The cost

 of this class was $1,100 per student. This expense was paid on behalf of SEMS’

 employees by SEMS.

       27. While taking the Intermediate EMT classes, the three Plaintiffs

 continued to work at SEMS and continued to be paid at a rate of less than $9.00

 per hour.




         2
          The original signed copies of these contracts have been lost and, therefore, the
  precise date the contracts were signed is unknown. It was, though, undisputed by the
  parties that each of the Plaintiffs (except Ms. Bogdan) signed a contract identical to the
  sample contract introduced into evidence as Plaintiffs’ Exhibit 1.

                                             -11-
Case 2:05-cv-00183-WGH-LJM       Document 41     Filed 10/31/07   Page 12 of 20 PageID #:
                                         188


      28. All of the three Plaintiffs (Thuis, R. Felker and T. Felker) eventually

 dropped out of the Intermediate EMT classes and otherwise ceased training to

 become an Intermediate EMT. Two other SEMS employees (Ms. Portteus and Mr.

 Boucher) completed the classes in Bloomfield (in addition to other certification

 requirements) and became certified as Intermediate EMTs.

      29. After dropping out of Intermediate EMT training, the three Plaintiffs

 continued to work at SEMS until their resignations before the end of 2005 and

 continued to receive pay at a rate of less than $9.00 per hour. Plaintiffs have not

 established that they worked for SEMS 18 months after they signed the

 contracts “in the first half of 2004.”

      30. SEMS sought reimbursement from Thomas Felker and Richard Felker

 for the $1,100 spent by SEMS for the Intermediate EMT classes in Bloomfield.

 Richard Felker has paid the company $400 in partial reimbursement for the

 training. Thomas Felker has not made any reimbursement.

      31. The other two SEMS employees (Ms. Portteus and Mr. Boucher) who

 signed Intermediate EMT Contracts both ultimately completed their training and

 became certified as Intermediate EMTs. After becoming certified Intermediate

 EMTs, both Ms. Portteus and Mr. Boucher received an increase in pay to the rate

 of $9.00 per hour.


            Conclusions of Law as to the Breach of Contract Claims

       9. Interpretation of the language in a contract is a question of law. Art

 Country Squire, L.L.C. v. Inland Mortg. Corp., 745 N.E.2d 885, 889 (Ind.Ct.App.



                                          -12-
Case 2:05-cv-00183-WGH-LJM       Document 41     Filed 10/31/07   Page 13 of 20 PageID #:
                                         189


 2001). The trial court’s goal is to give effect to the intent of the parties as

 expressed within the four corners of the document. Id. We may not construe

 unambiguous language to give it anything other than its clear, obvious meaning,

 and we may not add provisions to a contract that were not placed there by the

 parties. Id. Rather, we determine the meaning of a contract from an

 examination of all of its provisions, without giving special emphasis to any word,

 phrase or paragraph. Id.

      10. A “contract term is not ambiguous merely because the parties disagree

 about the term’s meaning.” Roy A. Miller & Sons, Inc. v. Industrial Hardwoods

 Corp., 775 N.E.2d 1168, 1173 (Ind.Ct.App. 2002). Rather, language is

 ambiguous only if reasonable people could come to different conclusions about

 its meaning. Id. Ambiguity in a contract may be one of two types: patent or

 latent. Patent ambiguity is “apparent on the face of the instrument and arises

 from an inconsistency or inherent uncertainty of language used so that it either

 conveys no definite meaning or a confused meaning.” Oxford Financial Group,

 Ltd. v. Evans, 795 N.E.2d 1135, 1143 (Ind.Ct.App. 2003). Latent ambiguity, on

 the other hand, “rises only upon attempting to implement the contract.” Id. at

 1144. Patent ambiguity presents a pure question of law, id. at 1143, while the

 fact finder resolves latent ambiguity as a question of fact, id. at 1144.

 Accordingly, extrinsic evidence is admissible to explain the meaning of latent

 ambiguity, id., but is not admissible to explain patent ambiguity, id. at 1143.




                                          -13-
Case 2:05-cv-00183-WGH-LJM      Document 41     Filed 10/31/07   Page 14 of 20 PageID #:
                                        190


      11. Extrinsic evidence is “evidence relating to a contract but not appearing

 on the face of the contract because it comes from other sources, such as

 statements between the parties or the circumstances surrounding the

 agreement.” CWE Concrete Const., Inc. v. First Nat. Bank, 814 N.E. 2d 720, 724

 (Ind.Ct.App. 2004), trans. denied 831 N.E.2d 739 (Ind. 2005).

      12. There is a “patent” ambiguity in Plaintiffs’ Exhibit 1 (meaning it is

 apparent on the face of the instrument and arises from an inconsistency or

 inherent uncertainty of language used so that it either conveys no definite

 meaning or a confused meaning.) Eckart v. Davis, 631 N.E.2d 494, 497

 (Ind.Ct.App. 1994). Specifically, while the language of the contract states that

 “THE COMPANY SHALL PAY THE EMPLOYEE A MINIMUM OF $9.00 PER HOUR

 PER ON-CLOCK TIME,” the contract does not state a beginning point for the new

 wage rate, nor does the language explicitly condition the new wage rate on

 completion of any particular class or training.

      13. “Extrinsic evidence is not admissible to explain or remove a patent

 ambiguity.” Id. As such, resolution of this ambiguity presents a question of law.

 Boswell Grain and Elevator, Inc. v. Kentland Elevator and Supply, Inc., 593 N.E.2d

 1224, 1227 (Ind.Ct.App. 1992). In interpreting a contract, courts seek to

 ascertain the intent of the parties and will accept an interpretation of the

 contract that harmonizes its provisions as opposed to one which causes the

 terms to be conflicting. Id. at 1226-27. “An ambiguous contract will be

 construed against the party who drafted it.” Id. SEMS was the drafter of the




                                         -14-
Case 2:05-cv-00183-WGH-LJM     Document 41      Filed 10/31/07   Page 15 of 20 PageID #:
                                       191


 Intermediate EMT Contract and any ambiguity in that contract will be construed

 against SEMS.

      14. The language of the Intermediate EMT Contract promises payment of a

 minimum of $9.00 per hour to the “EMPLOYEE,” not to an Intermediate EMT.

 The language of the Intermediate EMT Contract makes it plain that the SEMS

 employee signing the contract has not yet become an Intermediate EMT. The

 contract promises the “EMPLOYEE” a $9.00 per hour minimum, but makes clear

 that, as part of the contract, the employee will be required to enroll in and

 complete an Intermediate EMT training course. The contract contains no

 language, express or implied, that the $9.00 per hour minimum pay will only

 begin when the employee completes training and becomes an Intermediate EMT.

 Finally, the language of the contract makes clear that each employee provided

 consideration to SEMS in exchange for the promise that SEMS would begin to

 pay at least $9.00 per hour. Each employee who signed the contract had to

 promise to spend additional amounts of his/her time and effort participating in

 the Intermediate EMT training classes. More importantly, each employee who

 accepted SEMS’ offer had to promise to continue employment with SEMS for a

 period of at least 18 more months after accepting the contract, or be subject to a

 financial penalty in the form of repaying SEMS for the Intermediate EMT training

 course. The only logical and harmonious interpretation of the contract would

 entail a reading whereby SEMS’ employees were promised $9.00 or more per




                                         -15-
Case 2:05-cv-00183-WGH-LJM      Document 41      Filed 10/31/07   Page 16 of 20 PageID #:
                                        192


 hour in exchange for a promise to begin the process of becoming Intermediate

 EMTs, along with a promise of continued employment.

      15. The Magistrate Judge concludes that SEMS breached its Intermediate

 EMT Contracts with Richard Felker, Thomas Felker and Brock Thuis. There was

 no dispute that SEMS did not begin paying Richard Felker, Thomas Felker and

 Brock Thuis at a rate of at least $9.00 per hour after each signed his contract.

 There was no dispute that each Plaintiff did keep his end of the contract and

 began to take the Intermediate EMT course. SEMS breached its Intermediate

 EMT Contracts with Richard Felker, Thomas Felker and Brock Thuis,

 respectively, when SEMS failed and refused to begin paying hourly wages to each

 at $9.00 per hour, as promised in the contract. SEMS is liable for its breach of

 contract to each of these three Plaintiffs.


               Finding of Fact Relating to Count III, Claims for
              Unpaid Wages Under the Indiana Wage Payment Act

      32. Plaintiffs Richard Felker, Thomas Felker and Brock Thuis were paid at

 a lesser hourly rate after they signed the Intermediate EMT Contracts than the

 minimum pay of $9.00 per hour per on-clock time called for under the contracts.

 The exact amount that each of these three Plaintiffs were underpaid will be

 determined at a hearing on damages.




                                          -16-
Case 2:05-cv-00183-WGH-LJM     Document 41      Filed 10/31/07   Page 17 of 20 PageID #:
                                       193


                  Conclusion of Law as to the Claims for Unpaid
                   Wages Under the Indiana Wage Payment Act

      16. For all hours worked after their hourly rate of pay should have been a

 minimum of $9.00 per hour per on-clock time, each of these three Plaintiffs are

 owed the amount of the underpayment, and those unpaid wages are to be

 liquidated (trebled) under I.C. 22-2-5-2.


                 Findings of Fact Relating to SEMS’ Counterclaim
                    Against Richard Felker and Thomas Felker

      33. Findings of Fact 24, 25, 26, 27, 28 and 30 also apply to the

 Counterclaim.


                  Conclusions of Law as to SEMS’ Counterclaim

      17. Conclusions of Law 9 through 11 also apply to the Counterclaim.

      18. Plaintiffs’ Exhibit 1 is unambiguous as to this language: “THE

 COMPANY SHALL PAY FOR THE INTERMEDIATE EMT LEVEL TRAINING FOR

 THE EMPLOYEE AS LONG AS THE EMPLOYEE AGREES TO AND COMPLETES

 AN 18 MONTH EMPLOYMENT WITH THE COMPANY. THE EMPLOYEE SHALL

 BE REQUIRED TO REIMBURSE COMPANY FOR THE TRAINING EXPENSES

 INCURRED IF THE EMPLOYEE CANNOT COMPLETE THEIR 18 MONTH STAY

 DUE TO ANY CONDITION. (TERMINATION, ANOTHER JOB ETC.).”

      19. Because Thomas Felker and Richard Felker have failed to prove that

 they completed an “18 month employment with the Company,” the contract




                                         -17-
Case 2:05-cv-00183-WGH-LJM      Document 41      Filed 10/31/07   Page 18 of 20 PageID #:
                                        194


 unambiguously calls for them to reimburse SEMS for the costs of the EMT level

 training.

      20. However, under Indiana law, “[a] party first guilty of a material breach

 of contract may not maintain an action against the other party or seek to enforce

 the contract against the other party should that party subsequently breach the

 contract.” Licocci v. Cardinal Associates, Inc., 492 N.E.2d 48, 52 (Ind.Ct.App.

 1986); Lawrence v. Cain, 245 N.E.2d 663 (Ind.App. 1969); Records v. Smith, 126

 N.E. 335 (Ind.App. 1920). “As a rule, a party first guilty of a substantial or

 material breach of contract cannot complain if the other party thereafter refuses

 to perform . . . where a contract is not performed the party is guilty of the first

 breach is generally the one upon whom rests all the liability for the

 nonperformance . . . . A party who has himself been guilty of the first

 substantial breach of contract cannot rescind the contract because of the

 subsequent refusal or failure by the other party to perform.” Lawrence, 245

 N.E.2d at 669 (quoting 17 Am. Jur. 2d, Contracts § 365 (1964)).3

      21. “A party who fails to make payments as required by a contract is guilty

 of a breach thereof.” Licocci, 492 N.E.2d at 52, citing Brown v. Markland, 53 N.E.

 295 (Ind.App. 1899).

      22. In this case, there was no dispute that SEMS failed to pay Richard

 Felker, Thomas Felker and Brock Thuis at least the promised $9.00 per hour




        A substantial portion of 17 Am. Jur. 2d, Contracts § 365 (1964), now appears at
        3

  17A Am. Jur. 2d Contracts § 606.

                                          -18-
Case 2:05-cv-00183-WGH-LJM      Document 41     Filed 10/31/07   Page 19 of 20 PageID #:
                                        195


 after each gentleman signed the Intermediate EMT Contract. SEMS breached

 that contract first by failing to make the payments required by the contract at

 the rate promised. It has still not cured that failure. SEMS has only sued

 Richard Felker and Thomas Felker for repayment of training fees paid, but SEMS

 breached the contract first. Under Indiana law, SEMS is precluded from seeking

 enforcement of the contract because it is guilty of the first breach. Its

 Counterclaim against Richard Felker and Thomas Felker must, therefore, be

 dismissed.


                                      Decision

       I conclude that all four of the Plaintiffs “engaged in commerce” when they

 performed their duties for SEMS because I am required to liberally construe

 coverage under the FLSA, and I conclude that they were required on a daily

 basis to be prepared to respond to emergencies, and on at least some occasions

 did respond to emergencies on interstate highways. They are entitled to be paid

 overtime for those hours they can prove that they worked in excess of 40 hours

 each week.

       I further find that the Plaintiffs who signed the Intermediate EMT Contract

 attached to the Complaint are entitled to be paid $9.00 per hour from the date of

 the signing of the contract. This is because the contractual document drawn by

 SEMS contains a patent ambiguity. Where there is a patent ambiguity, I may

 not use extrinsic evidence to supply the meaning of the terms, but must instead

 apply a reasonable construction favorable to the party who did not draft the



                                         -19-
Case 2:05-cv-00183-WGH-LJM     Document 41     Filed 10/31/07   Page 20 of 20 PageID #:
                                       196


 document. Here, it is reasonable to believe that payment of wages of $9.00 per

 hour would be paid so long as the Plaintiffs began performance of their

 obligation to train for Intermediate EMT status.

       Thomas Felker and Richard Felker did not remain employed with SEMS

 for 18 months, and the Intermediate EMT Contract calls for them to repay SEMS

 for training costs advanced. However, under Indiana law, because SEMS first

 breached the contract at issue, they may not bring a cause of action for a second

 or later breach.

       A HEARING to determine the amount of damages the Plaintiffs are entitled

 to receive is hereby set for THURSDAY, DECEMBER 6, 2007, at 10:00 a.m.,

 Terre Haute time (EST), before the Magistrate Judge in Room 215 of the Federal

 Building in Terre Haute, Indiana.

       SO ORDERED.


 Entered: October 31, 2007                     _______________________________
                                                WILLIAM G. HUSSMANN, JR.
                                                     Magistrate Judge



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                                        -20-
